    Case 19-41304-drd13        Doc 164 Filed 03/14/23 Entered 03/14/23 12:03:09                 Desc
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              IN THE UNITED STATES BANKRUPTCY COURT
                   WESTERN DISTRICT OF MISSOURI
In re: ODELL NMN RIVERS SR
       CINDY ELAINE RIVERS
                                                                Case No.: 19-41304-drd-13

                             Debtors


           TRUSTEE'S OBJECTION TO MOTION TO INCUR DEBT (NO NOTICE)

    COMES NOW, Richard V. Fink, Standing Chapter 13 Trustee for the Western District of Missouri
("trustee"), and files this Objection to Motion to Incur Debt (no notice) (ECF Document 161) filed on
March 10, 2023 and in support thereof states:

   1. The debtors are above median and the confirmed plan is a 55 month Base plan that
      currently pays a dividend of 11.274%

   2. The motion does not include sufficient information on the amount of funds the debtors
      will receive once the refinance occurs and the current mortgage creditor is paid. The
      motion indicates the debtors plan to use the proceeds of the refinance to pay off their
      Chapter 13 case.

   3. The case is currently in month 46. Debtors have an applicable commitment period of 55
      months pursuant to In re Frederickson, 545 F.3d 652 (8th Cir. 2008).

   4. It appears the debtors are proposing to cash out equity in their home and pay off their case
      pursuant to the terms of the confirmed plan prior to reaching the applicable commitment
      period. The trustee objects to a pay off at less than 100% at this point.

   WHEREFORE, the Chapter 13 Trustee files this Objection to Motion to Incur Debt (no notice).


                                                    Respectfully submitted,
       March 14, 2023
                                                    /s/ Richard V. Fink, Trustee

                                                    Richard V. Fink, Trustee
                                                    2345 Grand Blvd., Ste. 1200
                                                    Kansas City, MO 64108-2663
                                                    (816) 842-1031
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                                                    NOTICE OF SERVICE

The following parties will be served either electronically or by United States First Class Mail and a certificate of service will
be filed thereafter:

DEBTOR(S)
WAGONER BANKRUPTCY GROUP (206) - ATTORNEY FOR DEBTOR(S)

                                                                 /s/ Richard V. Fink, Trustee


                                                                                                DE     /Objection / Reponse - Worksheet
